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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 ERIC JORGENSON                               : CIVIL ACTION
                                              :
                     v.                       : NO. 23-473
                                              :
 THE UNITED STATES, MIDFIRST                  :
 BANK, KML LAW GROUP, P.C.                    :

                                          ORDER

       AND NOW, this 6th day of March 2023, upon consideration of Plaintiff Eric Jorgenson’s

Motion to proceed in forma pauperis (DI 1), and pro se Complaint (DI 2), it is ORDERED:

       1.      Plaintiff’s Motion for leave to proceed in forma pauperis (DI 1) is GRANTED

pursuant to 28 U.S.C. § 1915.

       2.      The Complaint is DEEMED filed.

       3.      The Complaint is DISMISSED WITHOUT PREJUDICE for lack of subject

matter jurisdiction for the reasons stated in the Court’s Memorandum.

       4.      The Clerk of Court shall CLOSE this case.




                                                   ______________________
                                                   MURPHY, J.
